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                     IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI

IN RE:          RALPH JOHN BESHEARS and                             CAUSE NO. 20-11137-JDW
                TAMMY BESHEARS

                           MOTION TO LIFT AUTOMATIC STAY
                           AND FOR ADEQUATE PROTECTION

         COMES NOW, State Bank & Trust Company, by and through its attorneys, and requests this

Court to lift the automatic stay and to provide adequate protection regarding certain real property

owned by Debtors and in which Movant has a valid security interest and states as follows:

         1.      State Bank & Trust Company entered into a loan agreement (partial loan number

4971) with Ralph John Beshears and Tammy Beshears on or about June 22, 2012, in the amount of

$91,748.00.

         2.     Ralph John Beshears and Tammy Beshears secured the above loan with a Promissory

Note and Deeds of Trust (attached hereto as collective Exhibit “A”) on two (2) parcels of real

property in Yalobusha County, Mississippi. The first parcel pertains to real property and the

residence located at the address commonly known as 161 County Road 552, Coffeeville, Mississippi,

38922, and having the following legal description:

         A part of the Southwest Quarter of the Northwest Quarter of Section 36, Township
         25 North, Range 6 East of the First Judicial District of Yalobusba County,
         Mississippi, containing 1.01 acres, more or less, and being more particularly
         described as follows: Begin at a point located 3334 feet North and 203.2 feet East
         from the Southwest Corner of Section 36, Township 25 North, Range 6 East and run
         North 7 degrees 40 minutes 00 seconds East 210.00 feet, thence South 82 degrees,
         20 minutes, 00 seconds East 210.00 feet, more or less, to the West right of way of
         County Road 552; thence South 7 degrees, 40 minutes, 00 seconds West 210.00 feet
         along the road; thence North 82 degrees, 20 minutes, 00 seconds West 210.00 feet
         to the Point of Beginning.

The second parcel pertains to 60.2 acres, more or less, located in the SW 1/4 of the SW 1/4, the NW

1/4 of the SW 1/4, the SE 1/4 of the SW 1/4, and the SW 1/4 of the NW 1/4 of Section 12, Township
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24 North, Range 7 East, First Judicial District of Yalobusha County, Mississippi, and having the

following legal description:

       Begin at the Southwest Corner of Section 12, Township 24 North, Range 7 East and
       run N 0° 17' 20" W 2638.03 feet, along the West line of Section 12, to the center of
       the Airmount Road; thence along the center of the road; N 87° 37' 36" E 235.58 feet;
       thence N 83° 12' 15" E 101.43 feet; thence N 68° 08' 51" E 82.89 feet; thence N 59°
       58' 58" E 209.23 feet; thence leaving the road S 15° 00' 33" E 2895.29 feet to the
       South line of Section 12; thence N 89° 56' 49" W 1330.70 feet to the Point of
       Beginning, containing 60.2 acres, more or less, located in the Southwest Quarter of
       the Southwest Quarter, the Northwest Quarter of the Southwest Quarter, the
       Southeast Quarter of the Southwest Quarter and the Southwest Quarter of the
       Northwest Quarter of Section 12, Township 24 North, Range 7 East of the First
       Judicial District of Yalobusha County, Mississippi.

       3.        State Bank & Trust Company is a secured creditor with a first lien upon the above

real property.

       4.        State Bank & Trust Company has not received payment on the above Promissory

Note since July 2019. The principal balance of the loan, as of the date of filing of the current

bankruptcy petition on March 12, 2020, was $84,513.04. This note is now past due. The principal

balance as of today’s date is $86,425.30, and the total payoff as of today’s date is $90,072.77. The

total payoff includes outstanding interest in the amount of $3,123.87, legal fees from two (2)

attempted foreclosures on the subject property in the amount of $4,242.37, and appraisal fees in the

amount of $700.00.

       5.        On or about January 10, 2020, State Bank & Trust Company attempted to foreclose

on the above property under its loan and made a second foreclosure attempt on or about March 13,

2020. However, both foreclosure attempts were unsuccessful due to declarations of bankruptcy by

Debtors herein.

       6.        In an effort to circumvent the initial foreclosure, Debtors filed a Chapter 13

bankruptcy petition in this Court on January 10, 2020 under its Cause No. 20-10109-JDW.
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However, said bankruptcy was dismissed for failure to timely file documents and/or pay required

fees [see Doc. 6 on said docket]. The Final Decree/Order Closing Case [see Doc. 9 on said docket]

was entered in said cause on March 10, 2020.

       7.      The current Chapter 13 bankruptcy petition was filed by Debtors on March 12, 2020,

just two (2) days after the formal dismissal of the prior bankruptcy, in order to again prevent

foreclosure by State Bank & Trust Company on the subject property.

       WHEREFORE PREMISES CONSIDERED, State Bank & Trust Company asks that the

automatic stay be lifted immediately as to the property or the Debtors be required to provide

adequate protection as to the property described herein and that should the matter be dismissed,

Debtors shall be barred from filing another bankruptcy petition in this or any other Bankruptcy Court

for a period of 180 days from the entry of any such dismissal.

       This the 30th day of March, 2020.

                                              Respectfully submitted,

                                              JACKS GRIFFITH LUCIANO, P.A.
                                              Attorneys for State Bank & Trust Company

                                              By:     /s/ Mary McKay Griffith
                                                      Mary McKay Griffith, MSB #100785
                                                      Post Office Box 1209
                                                      Cleveland, MS 38732
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                                 CERTIFICATE OF SERVICE

        I, Mary McKay Griffith, Attorney for State Bank & Trust Company, do hereby certify that
I have this date notified by ECF and/or mailed, postage prepaid, a true and correct copy of the above
and foregoing Motion to Lift Automatic Stay and for Adequate Protection to the following:

       Robert Gambrell, Esquire
       Gambrell & Associates, PLLC
       101 Ricky D. Britt Blvd., Suite 3
       Oxford, MS 38655
       Attorney for Debtors

       U. S. Trustee
       United States Trustee
       501 East Court Street
       Suit 6-430
       Jackson, MS 39201

       Locke D. Barkley, Trustee
       6360 I-55 North, Suite 140
       Jackson, MS 39211

       This, the 30th day of March, 2020.

                                              /s/ Mary McKay Griffith
                                              MARY McKAY GRIFFITH
